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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF INDIANA
                               FORT WAYNE DIVISION

 IN RE:                                              CASE NO. 18-10388

 Agatha Nneka Esotu                                  CHAPTER 7

 Debtor(s).                                          JUDGE Robert E. Grant

     ORDER GRANTING MOTION TO APPROVE AGREED ORDER GRANTING
     RELIEF FROM AUTOMATIC STAY OF REAL PROPERTY KNOWN AS 7936
               WETHERSFIELD COVE, FORT WAYNE, IN 46835

       The Motion to Approve the Agreed Order filed with this Court on May 29, 2018, as

Docket No. 13, granting relief from the automatic stay with respect to real property located at

7936 WETHERSFIELD COVE, FORT WAYNE, IN 46835, having come before the Court,

       And, the Court having examined said Motion and being duly advised in the premises,

now finds sufficient cause to grant relief from the automatic stay, it is therefore,

       ORDERED AND ADJUDGED: That the Motion to Approve the Agreed Order filed by

Wilmington Savings Fund Society, FSB, D/B/A Christiana Trust as Owner Trustee of the

Residential Credit Opportunities Trust III be, and hereby is, granted; it is further,

        ORDERED AND ADJUDGED: That relief from the automatic stay is granted as to

Wilmington Savings Fund Society, FSB, D/B/A Christiana Trust as Owner Trustee of the

Residential Credit Opportunities Trust III and real property located at 7936 WETHERSFIELD

COVE, FORT WAYNE, IN 46835.


               June 26, 2018
 DATED:                                                V5REHUW(*UDQW
                                                     Robert E. Grant, Judge
                                                     United States Bankruptcy Court
D. Anthony Sottile (27696-49)
Jon Lieberman (OH 0058394)
Sottile & Barile, Attorneys at Law
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